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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

JENNY HWANG on behalf of herself
and all others similarly situated,                      Case No. 1:23-cv-1615

                       Plaintiffs,
                                                         NOTICE OF VOLUNTARY
                -against-                                     DISMISSAL
                                                           WITH PREJUDICE
EVOLUTION NATURE CORP.

                      Defendant.




PLEASE TAKE NOTICE, that the above-entitled action against all Defendants shall be and

hereby is dismissed pursuant to F.R.C.P. Rule 41(a)(1)(A)(i) with prejudice; without costs, or

disbursements, or attorneys’ fees to any party.


       Dated:      Forest Hills, New York
                   May 3, 2023

                                                      Respectfully Submitted,

                                                      /s/ Mars Khaimov_______
                                                  By:     Mars Khaimov, Esq.
                                                          108-26 64th avenue, Second Floor
                                                          Forest Hills, New York 11375
                                                          Tel (929) 324-0717
                                                          Fax (929) 333-7774
                                                          Email: mars@khaimovlaw.com
                                                          Attorney for Plaintiff
